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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

FIRST BANK & TRUST,                             )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )
                                                )
REAGOR AUTO MALL, LTD, d/b/a                    )
REAGOR-DYKES OF LEVELLAND and                   )
d/b/a REAGOR-DYKES IMPORTS,                     )
FIRSTCAPITAL BANK OF TEXAS, N.A.,               )
BART REAGOR, RICK DYKES, SHANE                  )
SMITH, SHEILA MILLER, BRAD D.                   )
BURGESS, and KENNETH L. BURGESS,                )
                                                )
                      Defendants.               )    Civil Action No. 5:18-CV-234-C

                                            ORDER

       The Court notes that the above-styled and -numbered civil action was removed from the

72nd Judicial District Court of Lubbock County, Texas, on September 21, 2018. The Court

ORDERS Plaintiff to file an amended pleading, on or before 9:00 a.m. on October 5, 2018, that

complies with the Federal Rules of Civil Procedure. Defendants shall file their answer(s) on or

before 9:00 a.m. on October 12, 2018.

       Plaintiff shall serve a copy of this Order on the Defendants.

       SO ORDERED this 1st day of October, 2018.




                                             SAM R. CUMMINGS
                                             SENIOR UNITED STATES DISTRICT JUDGE
